Case 1:22-cv-08171-VEC   Document 28-4   Filed 11/22/22   Page 1 of 3




                         EXHIBIT D
                                                      Case 1:22-cv-08171-VEC                    Document 28-4                      Filed 11/22/22                   Page 2 of 3
                                                                                          Warner Bros. Discovery, Inc.
                                                                                   April 4, 2022 through September 23, 2022
                                                                                   State Teachers Retirement System of Ohio



       ----------------------Purchases/Acquisitions-------------------             -------------------------------Sales-------------------------------
                                                                                                                                                                                    (Loss) on
                                                                                                                                                                      (Loss) on    Holdings @    Total
  Trade Date             Shares            Price                    Total     Trade Date             Shares             Price                             Total      Shares Held    $11.7900    (Loss)

I. Share Sales Matched Against Pre-Class Period Holdings

Open position                 -




Subtotal (I)                      0                                      $0                                   0                                               $0




II. Shares Purchased/Acquired and Sold Within Class Period (LIFO Basis)
                                          Formula: (sales price - purchase price) x shares sold

       04/11/22             843,278         $24.78              $20,896,429      04/13/22                  4,273          $26.00                         $111,098
       04/18/22             586,000         $24.23              $14,198,604      04/13/22                18,330           $26.00                         $476,580
       04/28/22              35,682         $18.35                 $654,765      04/13/22               490,686           $26.00                  $12,757,836
                                                                                 05/06/22                70,842           $17.73                   $1,256,177
                                                                                 06/03/22               169,342           $17.44                   $2,952,816
                                                                                 06/21/22                26,802           $14.41                     $386,136
                                                                                 06/21/22                15,146           $14.38                     $217,724
                                                                                 06/27/22                25,479           $14.15                     $360,541
                                                                                 06/28/22               586,000           $13.67                   $8,009,975
                                                                                 10/07/22                 18,100          $12.02                     $217,493
                                                                                 10/07/22                 39,960          $11.97                         $478,293



Subtotal (II)           1,464,960                            $35,749,798                           1,464,960                                   $27,224,670                                       ($8,525,127)
                                                      Case 1:22-cv-08171-VEC                    Document 28-4                      Filed 11/22/22                Page 3 of 3
                                                                                          Warner Bros. Discovery, Inc.
                                                                                   April 4, 2022 through September 23, 2022
                                                                                   State Teachers Retirement System of Ohio



       ----------------------Purchases/Acquisitions-------------------             -------------------------------Sales-------------------------------
                                                                                                                                                                                  (Loss) on
                                                                                                                                                                   (Loss) on     Holdings @      Total
  Trade Date             Shares            Price                    Total     Trade Date             Shares             Price                            Total    Shares Held     $11.7900      (Loss)


III. Shares Purchased/Acquired During Class Period and Sold After End of Class Period (LIFO Basis)
                                          Formula: (sales price - purchase price) x shares sold




Subtotal (III)                    0                                      $0                                   0                                             $0                                           $0




IV. Shares Purchased/Acquired During Class Period and Still Held (LIFO Basis)
                                         Formula: (Closing price on 9/23/22 - purchase price) x shares held

                                                                                                                                                                        $11.79          $0.00
                                                                                                                                                                        $11.79          $0.00


Subtotal (IV)                     0                                      $0                                                                                                             $0.00            $0

TOTAL (II - IV) Losses                                                                                                                                                                           ($8,525,127)
